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 5
     Attorney for Defendant,
 6   MELODY CRYDER

 7
                                IN THE UNITED STATES DISTRICT COURT
 8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                        CASE NO. 2:08-CR-282-EJG

11               Plaintiff,                           STIPULATION AND ORDER

12        vs.                                         DATE: December 12, 2008
                                                      TIME: 10:00 AM
13   MELODY CRYDER,                                   JUDGE: Hon. Edward Garcia

14               Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Mike

17   Beckwith, Assistant U.S. Attorney, and defendant Melody Cryder, by and through his attorney,

18   Dan Koukol, that the status conference of December 12, 2008 be vacated and that a status

19   conference be set for January 21, 2009 at 10:00 AM.

20          This continuance is being requested because the defense needs additional time to prepare

21   for the sentencing hearing.

22          //

23          //

24          //

25          //
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 1          The parties request that the speedy trial time is excluded from the date of this order

 2   through the date of the sentencing hearing set for January 21, 2009 at 10:00 AM pursuant to 18

 3   U.S.C. § 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).

 4
     DATED: DECEMBER 2, 2008                            Respectfully submitted,
 5

 6                                       /s/ DAN KOUKOL
                                         _________________________________
 7                                       DAN KOUKOL
                                         Attorney for defendant Melody Cryder
 8

 9
     DATED: DECEMBER 2, 2008                            Respectfully submitted,
10

11                                       /s/ DAN KOUKOL FOR
                                         _________________________________
12                                       Mike Beckwith
                                         Assistant U.S. Attorney
13
     IT IS SO ORDERED
14
     DATED:     December 8, 2008
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16
                                  /s/ Edward J. Garcia
17                                Edward Garcia
                                  UNITED STATES DISTRICT JUDGE
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